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                          Original




                                                        Legend:
                     English Translation                “SYP” = Syrian Pound
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